        Case 1:21-cv-00400-APM Document 21-2 Filed 05/26/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 HON. BENNIE G. THOMPSON, HON.
 KAREN R. BASS, HON. STEPHEN I.
 COHEN, HON. VERONICA ESCOBAR,
 HON. PRAMILA JAYAPAL, HON. HENRY
 C. JOHNSON, JR., HON. MARCIA C.                     Civil Action No. 1:21-cv-00400-APM
 KAPTUR, HON. BARBARA J. LEE, HON.
 JERROLD NADLER, HON. MAXINE
 WATERS, and HON. BONNIE M. WATSON
 COLEMAN, in their personal capacities,

       Plaintiffs,

 v.

 DONALD J. TRUMP, RUDOLPH W.
 GIULIANI, OATH KEEPERS, PROUD
 BOYS INTERNATIONAL, L.L.C.,
 WARBOYS LLC, and ENRIQUE TARRIO,

       Defendants,


      [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO DISMISS
                   PLAINTIFFS’ AMENDED COMPLAINT

       On May 26, 2021, pursuant to FED. R. CIV. P. 12(b)(6), Defendant Rudolph Giuliani filed

his Motion to Dismiss [Doc. ___] Plaintiffs’ Amended Complaint [Doc. 11-1].

       After considering the Motion, response to the Motion, reply in support of the Motion, and

the entire record, the Court GRANTS the Motion [Doc. __] and hereby ORDERS that the

Amended Complaint [Doc. 11-1] is hereby DISMISSED WITH PREJUDICE as to refiling same.

       IT IS SO ORDERED.

       Date: ___________

                                            _______________________________________________

                                                UNITED STATES DISTRICT JUDGE




                                                                                              1
